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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                          Case No.:


 ESTHER VENTURA DE RENDÓN and
 JUAN MARÍA RENDÓN GUTIÉRREZ,

        Petitioners,

 v.

 VIVIANE VENTURA and MICHAEL D.
 VENTURA,

      Respondents.
 ______________________________________/

                         RESPONDENT'S NOTICE OF REMOVAL

        Respondent, Viviane Ventura files this Notice of Removal and removes to this

 Court the civil action captioned Esther Ventura De Rendón and Juan María Rendón

 Gutiérrez v. Viviane Ventura and Michael D.Ventura, Case No. 17-021599 ("State

 Court Action") originally filed in the Circuit Court of the Eleventh Judicial Circuit in

 and for Miami-Dade County, Florida.

        Specifically, Respondent removes this action based on the following grounds:

 (i) under 9 U.S.C. §§ 202 and 205 this dispute arises from a "non-domestic"

 arbitral award issued in an arbitration proceeding between citizens of foreign states

 and is therefore, subject to the Convention on the Recognition and Enforcement of

 Foreign Arbitral Awards (the "New York Convention"), 9. U.S.C § 201, et. seq.; and

 (ii) pursuant to 28 U.S.C. §§ 1331 and 1441(a) and 9 U.S.C. § 203 this Court has




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 original subject matter jurisdiction over the non-recognition or enforcement of an

 arbitration award subject to the New York Convention. 1




                            Factual and Procedural Background

 1.       Petitioners, Esther Ventura De Rendón            and Juan María Rendón Gutiérrez,

 filed a Petition to Confirm International Arbitration Award ("Petition to Confirm"), on

 September 6, 2017, initiating the State Court Action in the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida, which is embraced

 by this district and division.

 2.       In compliance with 28 U.S.C. § 1446(a), attached as Exhibits "1" through

 "17" to this Notice of Removal is a copy of Petitioners' Petition to Confirm, filed in

 the State Court Action, together with all exhibits, civil cover sheets, pleadings and

 orders filed thus far.

 3.       To date, only one of the Respondents, Viviane Ventura, was properly served

 with notice of the State Court Action on November 13, 2017.

 4.       In the State Court Action, Petitioners seek to confirm a final non-domestic

 arbitral award falling under, and governed by, the New York Convention, 9. U.S.C §

 201, et. seq. The final arbitral award dated April 27, 2016, was issued by the

 International Court of Arbitration of the International Chamber of Commerce in an


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    This is premised on the facts set forth by Petitioners in the Petition to Confirm
 International Arbitration Award ("Petition to Confirm"), dated September 6, 2017, which
 states that Petitioners are "foreign citizens and residents of Lugano, Switzerland." See ¶ 3.
 However, we note that the Award describes Petitioners as residents of Bogota, Colombia,
 without mentioning their place of citizenship. To the extent that Petitioners are indeed
 citizens of Switzerland, then the New York Convention is applicable. On the other hand, if
 Petitioners are citizens of Colombia, then the Inter-American Convention on International
 Commercial Arbitration (“Panama Convention”) would apply.
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 arbitration proceeding conducted in Bogota, Colombia in Case No. 19728/ASM (the

 "Award"). The Award, which is in favor of Petitioners and against Respondents, is

 attached as Exhibit "A" to the Petition to Confirm. See Exhibit 2-A to the Notice of

 Removal.

                                   Grounds for Removal

 5.     Removal of the State Court Action is proper under 9. U.S.C § 205, which

 provides that a defendant may remove to federal court an action or proceeding

 pending in state court related to an arbitral award falling under the New York

 Convention. Pursuant to 9. U.S.C § 202, an arbitral award falls under the New York

 Convention when it is between citizens of foreign states, "involves property located

 abroad, envisages performance or enforcement abroad, or has some other

 reasonable relation with one or more foreign states." The Eleventh Circuit has held

 that the New York Convention applies to awards "not considered as domestic" in the

 state where the enforcement is sought; in the United States, this includes awards

 "not entirely between citizens of the United States." Indus. Risk Insurers v. M.A.N.

 Gutehoffnungshütte GmbH, 141 F.3d 1434, 1440-41 (11th Cir. 1998).

 6.     Here, the Award is non-domestic because Petitioners, Esther Ventura De

 Rendón and Juan María Rendón Gutiérrez, are both foreign citizens and residents

 of Lugano, Switzerland and Respondents, Viviane Ventura and Michael D. Ventura,

 are citizens of the United States and the United Kingdom, respectively. Further, the

 Award concerns business and corporate relationships with Laboratorios LaFrancol,

 S.A., a Colombian entity, and its affiliates.

 7.     Removal of the State Court Action is also proper under 28 U.S.C. § 1441(a),

 which provides that a state court action may be removed to the federal court with


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 original jurisdiction embracing the place where the action is pending. Pursuant to 9

 U.S.C. § 203, this Court has original jurisdiction over the State Court Action

 because it falls under the New York Convention and according to 28 U.S.C. § 1331,

 arises “under the Constitution, laws, or treaties of the United States.”

 8.     As recognized by courts in this circuit, actions to recognize or enforce a non-

 domestic award fall “exclusively” under the New York Convention and are thus

 governed by federal law. Costa v. Celebrity Cruises, Inc., 768 F. Supp. 2d 1237,

 1240 (S.D. Fla. 2011), aff’d, 470 F. App’x 726 (11th Cir. 2012). (“The Convention

 and Chapter 2 of the FAA exclusively govern an arbitration between a citizen of the

 United States and citizens of a foreign country.”)

 9.     Petitions to vacate non-domestic awards, being the flip side of an action for

 recognition, also fall under the New York Convention. In Industrial Risk Insurers v.

 M.A.N. Gutehoffnungshütte GmbH, the Eleventh Circuit made it clear that it has

 subject-matter jurisdiction to hear vacatur motions. 141 F.3d 1434, 1441 (11th Cir.

 1998) (finding federal subject-matter jurisdiction over a motion to vacate a non-

 domestic award rendered by a tribunal seated in Tampa, FL). See also Inversiones

 y Procesadora Tropical INPROTSA, S.A. v. Del Monte Int'l GmbH, No. 16-24275-

 CIV-MORENO, 2017 WL 1737648, at *3 (S.D. Fla. May 2, 2017) (noting it would

 not “split hair” between confirming and vacating an award and finding subject-

 matter jurisdiction to hear a motion to vacate a non-domestic award rendered in

 Miami, FL).

                        Compliance with the Removal Statutes

 10.    Respondent has complied with the procedural requirements for removal,

 namely: (i) this action has been removed to the appropriate court as per 28 U.S.C.


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 § 1441(a) as this Court is within the district and division where the State Court

 Action is pending; (ii) removal is timely under 9 U.S.C. § 205 as Respondets may

 remove the State Court Action at any time before trial in the underlying action; (iii)

 the removal is also timely under 28 U.S.C. § 1446(b)(1) because Respondent filed

 it within 30 days after receipt of the initial pleading, which was filed in state court

 on September 6, 2017, and served on Respondent, Viviane Ventura on November

 13, 2017; (iv) removal complies with the requirement of 28 U.S.C. § 1446(b)(2)(A)

 in that all respondents who have been properly served join the removal; (v) this

 Notice of Removal was served upon counsel for Petitioners and a copy of this notice

 will be filed with the state court from which the case was removed in compliance

 with 28 U.S.C. § 1446(d); and (vi) copies of all state-court “process, pleadings, and

 orders served upon” Respondents are attached as exhibits in compliance with 28

 U.S.C. § 1446(a).



                                 Non-Waiver of Defenses

 11.    Respondent, by removing the State Court Action, does not waive any

 available defenses or other rights or admit any of the allegations made in

 Petitioners' Petition to Confirm.




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 Dated this 4th day of December, 2017.


                                                    Respectfully submitted,

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                                                     m

                                                     Counsel for Viviane Ventura



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 4, 2017, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that

 the foregoing document is being served this day on all counsel of record or pro se

 parties identified on the attached Service List in the manner specified, either via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.



                                                    By: /s/ Luis O'Naghten
                                                          Luis O'Naghten




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                                        SERVICE LIST

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                          JUAN MARÍA RENDÓN GUTIÉRREZ,
                                        v.
                          VIVIANE VENTURA and MICHAEL D.
                                     VENTURA,

                         Case No.: _____________________


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